AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



                                        UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                                      JUDGMENT IN A CRIMINAL CASE
                                                                              (For Revocation of Probation or Supervised Release)
          V.                                                                  (For Offenses Committed On or After November 1, 1987)



Thom as Negron Lee                                                            Case Num ber: DNCW 393CR000236-004
                                                                              USM Num ber:

                                                                              Erin Taylor
                                                                              Defendant’s Attorney


THE DEFENDANT:

X         adm itted guilt to violation of condition(s) Addendum 1 & 2, 3, 4, 5 of the term of supervision.
          W as found in violation of condition(s) count(s)        After denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):



                                                                                                     Date Violation
 Violation Num ber                    Nature of Violation                                            Concluded

 Addendum 1                           New Law Violation                                              6/27/11

 Addendum 2                           New Law Violation                                              8/3/2011

 3                                    Failure to Report Change in Residence                          7/15/11

 4                                    Failure to Maintain Lawful Em ploym ent                        7/15/11

 5                                    Failure to Com ply Mental Health Treatm ent                    7/6/11



       The Defendant is sentenced as provided in pages 2 through 2 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

X         The Defendant has not violated condition(s) 6 and is discharged as such to such violation(s) condition.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.


                                                                              Date of Im position of Sentence: 2/28/12


                                                                                 Signed: March 2, 2012




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Defendant: Thom as Negron Lee                                                                            Judgm ent-Page 2 of 3
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                                                                  IM PRISONM ENT

        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
term of THIRTEEN (13) MONTHS.




          The Court m akes the following recom m endations to the Bureau of Prisons:

X         The Defendant is rem anded to the custody of the United States Marshal.

          The Defendant shall surrender to the United States Marshal for this District:

                               As notified by the United States Marshal.

                                At___a.m . / p.m . on ___.

          The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                               As notified by the United States Marshal.

                                Before 2 p.m . on ___.

                               As notified by the Probation Office.

                                                                        RETURN

          I have executed this Judgm ent as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.


                                                              ___________________________________________
                    United States Marshal


                                                    By: _______________________________________
                                                                  Deputy Marshal




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Defendant: Thom as Negron Lee                                                                          Judgm ent-Page 3 of 3
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                                                    STATEMENT OF ACKNOW LEDGMENT

I understand that m y term of supervision is for a period of _______m onths, com m encing on ____________________ .

Upon a finding of a violation of probation or supervised release, I understand that the court m ay (1) revoke supervision, (2)
extend the term of supervision, and/or (3) m odify the conditions of supervision.

I understand that revocation of probation and supervised release is m andatory for possession of a controlled substance,
possession of a firearm and/or refusal to com ply with drug testing.

These conditions have been read to m e. I fully understand the conditions and have been provided a copy of them .




(Signed)       ____________________________________ Date: _________________
                Defendant

(Signed)       ____________________________________ Date: _________________
                U.S. Probation Office/Designated W itness




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